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                     Exhibit 10
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              Infringement Claim Chart for U.S. Pat. No. US9456086B1 v. FLIR (“Defendant”)


    Claim11                                               Evidence
11. A method for   The Teledyne FLIR Customer Service system with intelligent routing performs a method
matching a first   of matching a first entity with a second entity.
entity with a
second entity,     For example, the Teledyne FLIR Customer Service system matches an incoming call,
comprising:        which is the first entity, to a call center agent, which is the second entity.




                   Source: Service and Support | Teledyne FLIR




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   Source: Support : GSO Customer support central (flir.com)




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   Source: Submit a ticket : GSO Customer support central (flir.com)




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storing a              The Teledyne FLIR Customer Service system with intelligent routing stores a plurality of
plurality of           multivalued scalar data representing inferential targeting parameters for the first entity.
multivalued
scalar data            For example, the Teledyne FLIR Customer Service system uses one or more of:
representing           interactive voice response (IVR), keypad menus, caller identification and customer
inferential            relationship management (CRM) information to determine the nature of a call and
targeting              thereby, the required characteristics of a call center product expert or agent to handle
parameters for         the call. These required agent characteristics include one or more of: skills and
the first entity;      respective skill levels, the agent’s location, prior call history with calls of the same
                       nature. These required characteristics are represented by Teledyne CARIS Customer
                       Services comprising a plurality of multivalued scalar data, which is stored and used, by
                       the Teledyne FLIR Customer Service system, as inferential, or intelligent, targeting
                       parameters for routing the call to an appropriate call center agent.




                       Source: Service and Support | Teledyne FLIR




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   Source: Support : GSO Customer support central (flir.com)




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   Source: Submit a ticket : GSO Customer support central (flir.com)




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               Source: service desk tutorial | Teledyne Geospatial (teledynecaris.com)




               Source: Tech Support Phone Lines (custhelp.com)
storing a      The Teledyne FLIR Customer Service system with intelligent routing stores a plurality of




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plurality of       multivalued scalar data of each of the plurality of second entities, representing
multivalued        inferential targeting parameters for a plurality of second entities.
scalar data of
each of the        For example, the Teledyne FLIR Customer Service system stores respective
plurality of       characteristics of multiple call center product specialist or agents. These agent
second entities,   characteristics include one or more of: skills and respective skill levels, the agent’s
representing       location, and the agent’s prior history with handling calls of a specific nature. The agent
inferential        characteristics are represented by Teledyne CARIS Customer Services comprising a
targeting          plurality of multivalued scalar data and are used, by the Teledyne FLIR Customer Service
parameters for a   system, as inferential targeting parameters for routing the call to an appropriate call
plurality of       center agent.
second entities;




                   Source: Service and Support | Teledyne FLIR




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   Source: Support : GSO Customer support central (flir.com)




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   Source: Submit a ticket : GSO Customer support central (flir.com)




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                Source: service desk tutorial | Teledyne Geospatial (teledynecaris.com)




                Source: Tech Support Phone Lines (custhelp.com)
performing      The Teledyne FLIR Customer Service system with intelligent routing performs, using an




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using an              automated processor and based on at least the stored plurality of multivalued scalar
automated             data, an economic optimization. The optimization seeks to maximize a normalized
processor,            economic surplus of a respective mutually exclusive match of the first entity with the
based on at           second entity, while at the same time considering an opportunity cost of the
least the stored      unavailability of the second entity as a result of the match.
plurality of
multivalue            For example, based on the required agent characteristics for handing the call and the
scalar data, an       respective characteristics of multiple call center agents, the Teledyne FLIR Customer
economic              Service system selects an appropriate agent for handling the call. This selection is made
optimization          by making, for each of the multiple agents, a cost-benefit analysis of a prospective
seeking to            matching of the call with the particular agent. The cost-benefit for the prospective match
maximize a            is based, at least in part, on the required agent characteristics and the characteristics of
normalized            the particular expert or agent. This prospective match is mutually exclusive in the sense
economic              that the call is only assigned to the particular agent and the agent to this particular call
surplus of a          for the duration of the call. Therefore, the cost-benefit analysis also accounts for the fact
respective            that the agent cannot handle other calls while handling this call. The agent associated
mutually              with the prospective match that has the maximum benefit while considering the costs,
exclusive match       which is the so-called normalized economic surplus, is selected by the Teledyne FLIR
of the first entity   Customer Service system to handle the call.
with the second
entity, in
conjunction with
an opportunity
cost of the
unavailability of
the second
entity as a result
of the match;
and




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   Source: Service and Support | Teledyne FLIR




   Source: Support : GSO Customer support central (flir.com)




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   Source: Submit a ticket : GSO Customer support central (flir.com)




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                  Source: service desk tutorial | Teledyne Geospatial (teledynecaris.com)




                  Source: Tech Support Phone Lines (custhelp.com)
outputting a      The Teledyne FLIR Customer Service system with intelligent routing outputs a signal in




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signal in       dependence on the optimization.
dependence on
the             For example, the Teledyne FLIR Customer Service system generates and outputs a signal
optimization.   for connecting the call with the matched agent, whereby the exact nature of the signal
                depends on the matched agent, so as to connect that agent to the call.




                Source: Service and Support | Teledyne FLIR




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   Source: Support : GSO Customer support central (flir.com)




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   Source: Submit a ticket : GSO Customer support central (flir.com)




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   Source: service desk tutorial | Teledyne Geospatial (teledynecaris.com)




   Source: Tech Support Phone Lines (custhelp.com)




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